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4    SULLIVAN HILL REZ & ENGEL                                Electronically Filed: 2/23/2021
     A Professional Law Corporation
5     James P. Hill, SBN 90478
      Christopher V. Hawkins, SBN 222961
6    600 B Street, 17th Floor
     San Diego, California 92101
7    Telephone:     (619) 233-4100
     Fax Number: (619) 231-4372
8
     Attorneys for Debtor and Debtor In Possession,
9    Vestavia Hills, Ltd., dba Mount Royal Towers
10                             UNITED STATES BANKRUPTCY COURT
                                    Southern District of California
11
     In re                                            )   CASE NO. 20-00018-LA11
12                                                    )
         VESTAVIA HILLS, LTD.,                        )   CHAPTER 11 DEBTOR’S
13                                                    )   MONTHLY OPERATING
         DBA MOUNT ROYAL TOWERS,
                                                      )   REPORT FOR THE MONTH OF
14                                                    )   JANUARY 2021
                              Debtor.
                                                      )   Ctrm:       2
15                                                    )
                                                      )   United States Bankruptcy Court
16                                                    )   325 West “F” Street
                                                      )   San Diego, CA 92101-6991
17                                                    )   Judge: Hon. Louise DeCarl Adler
18               Vestavia Hills, Ltd., the debtor and debtor in possession, hereby submits this
19   monthly Operating Report for the period of January 1, 2021 through January 31, 2021
20   pursuant to the United States Trustee’s Operating and Reporting Requirements
21   governing Chapter 11 cases.
22

23                                                  SULLIVAN HILL REZ & ENGEL
      Dated:         February 23, 2021              A Professional Law Corporation
24
                                                    By:    /s/ James P. Hill
25                                                         James P. Hill
                                                           Attorneys for Debtor,
26                                                         Vestavia Hills, Ltd., dba Mount
                                                           Royal Towers
27

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                                                               51
                                             UNITED STATES DEPARTMENT OF JUSTICE
                                              OFFICE OF THE UNITED STATES TRUSTEE
                                              SOUTHERN DISTRICT OF CALIFORNIA



IN RE:                                                           CHAPTER 11 (BUSINESS)
                                                                 CASE NO. 20-00018-LA11
  Vestavia Hills, Ltd.                                           OPERATING REPORT NO.                   13
  DBA Mount Royals Towers                                        FOR THE MONTH ENDING             January 31, 2021




         Debtor.

                                             I. CASH RECEIPTS AND DISBURSEMENTS
                                             A. DIP GENERAL CHECKING ACCOUNT #1


1. TOTAL RECEIPTS PER ALL PRIOR GENERAL DIP CHECKING ACCOUNT #1 REPORTS                                                 $   14,386,405.60

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR DIP GENERAL CHECKING ACCOUNT #1 REPORTS                                      $   13,059,029.34


3. BEGINNING BALANCE                                                                                                    $    1,327,376.26

4. RECEIPTS DURING CURRENT PERIOD:
      RECEIPTS                                                                                $            223,689.78
      RECEIPTS - HHS Stimulus Funding                                                         $            141,641.35
      RECEIPTS - Partner Funding                                                              $          1,000,000.00
      TRANSFERS FROM DIP IMPREST ACCOUNT #7                                                   $                   -
      TRANSFERS FROM DIP PAYROLL ACCOUNT #3                                                   $                   -
      TRANSFERS FROM PATIENT TRUST ACCOUNT #5                                                 $             42,888.64
      TRANSFERS FROM DIP RESERVE ACCOUNT #6                                                   $            536,927.56

                                                                                      TOTAL RECEIPTS THIS PERIOD:       $    1,945,147.33

5. BALANCE                                                                                                              $    3,272,523.59

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD:
       DISBURSEMENTS                                                                          $          2,035,739.66
       TRANSFERS TO DIP PAYROLL CHECKING ACCOUNT #3                                           $             58,821.83
       TRANSFERS TO PATIENT TRUST ACCOUNT #5                                                  $                   -
       TRANSFERS TO DIP IMPREST ACCOUNT #7                                                    $              4,037.37
       TRANSFERS TO PETTY CASH - ACTIVITIES CASH ACCOUNT #8                                   $              1,537.22
       TRANSFERS TO PETTY CASH - ADMINISTRATOR CASH ACCOUNT #9                                $              2,078.22
       TRANSFERS TO PROPERTY TAX MONEY MARKET - ACCOUNT #10                                   $             16,500.00

                                                                               TOTAL DISBURSEMENTS THIS PERIOD:         $    2,118,714.30

7. ENDING BALANCE:                                                                                                      $    1,153,809.29


8. DIP GENERAL CHECKING ACCOUNT #1 ***6702
   COMERICA BANK
   955 J STREET
   SAN DIEGO, CA 92101
             Case 20-00018-LT11                    Filed 02/23/21         Entered 02/23/21 13:09:54                           Doc 466   Pg. 3 of
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In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
DIP General Checking Account #1
January 31, 2021


                        TOTAL DISBURSEMENTS FROM DIP GENERAL CHECKING ACCOUNT #1 FOR CURRENT PERIOD
                                         See attached Exhibit A for Bank Account Reconciliation and Bank Statement


      Date          Check#                             Payee                                                 Purpose                         Amount


    01/04/21     6253 / WIRE      AL DEPT SR SVC                                Ombudsman 80% of Post-Petition 11/20 Fees                $        125.52
    01/04/21     6254 / WIRE      BAKER TILLY US, LLP                           80% of Post-Petition 11/20 CPA Fees                             3,061.60
    01/04/21     6255 / WIRE      CAMPBELL PARTNERS                             80% of Post-Petition 11/20 Legal Fees                             210.00
    01/04/21     6256 / WIRE      ELISABETH EISNER, ATTORNEY AT                 80% of Post-Petition 11/20 Legal Fees                           1,760.00
    01/04/21     6257 / WIRE      HARBUCK, KEITH, & HOLMES, LLC                 80% of Post-Petition 11/20 Legal Fees                          16,783.00
    01/04/21     6258 / WIRE      SULLIVAN HILL REZ & ENGEL, APL                80% of Post-Petition 11/20 Legal Fees                          76,194.26
    01/05/21   DB010521 / WIRE    Catered Living                                Payroll Funding                                                 2,700.00
    01/05/21        Wire          I Solved                                      Payroll, taxes, garnishments, fees                            222,201.38
    01/07/21        6259          ACTIVCARE LIVING - 102717 CHGBACK             DWC 401(k)- 4th Qtr 2020 - ERISA Consultant                        42.50
    01/07/21        6259          ACTIVCARE LIVING - 102717 CHGBACK             FedEx 12/20                                                        59.61
    01/07/21        6259          ACTIVCARE LIVING - 102717 CHGBACK             Verizon Wireless Phones 11/16 - 12/15/20                          137.51
    01/07/21        6259          ACTIVCARE LIVING - 102717 CHGBACK             Verizon Wireless Modem 11/16 - 12/15/20                            25.46
    01/07/21        6260          ACTIVCARE LIVING                              Bank Fees - 12/20                                                 425.00
    01/07/21        6261          ACTIVCARE LIVING                              Computer Surcharge - 12/20                                         75.00
    01/07/21        6262          ADVANCED DISPOSAL SERVICES                    Trash Service- 12/01/20 - 12/31/20                              7,277.40
    01/07/21        6263          ALABAMA SELF-INSURED WORKER'S                 Worker's Compensation Insurance 01/21                           4,968.88
    01/07/21        6264          AT&T                                          Line: 831-000-8575 svc for 12/11/20 - 01/10/21                  1,390.05
    01/07/21        6265          AT&T                                          Line: 205 802-2286 svc for 12/14/20 - 01/13/21                  1,022.27
    01/07/21        6266          BARNARD, RENEE                                Expense Reimbursement: Oct - Dec 2020                           3,840.88
    01/07/21        6267          BIRMINGHAM WATER WORKS                        Water Utility (Main Bill): 11/24/20 - 12/29/20                 42,968.28
    01/07/21        6268          BIRMINGHAM WATER WORKS                        Water Utility (Fire Line): 11/24/20 - 12/29/20                     85.36
    01/07/21        6269          COMMUNITY COFFEE COMPANY, LLC                 Coffee & Tea Delivery 12/18/20                                    229.90
    01/07/21        6270          DARLENE CLIFTON                               Unclaimed Property for Darlene Clifton                            393.00
    01/07/21        6271          GORDON FOOD SERVICE, INC                      Raw Foods & Supplies 12/24/20 - 1/5/21                          9,159.58
    01/07/21        6272          HILLER FIRE PROTECTION                        Semi Annual Kitchen Hood Inspection                               468.20
    01/07/21        6273          LINGO                                         Phone 12/17/20 - 1/16/21                                          124.63
    01/07/21        6274          LOWE'S BUSINESS ACCOUNT                       Maintenance Supplies 12/3/20 - 12/21/20                           861.77
    01/07/21        6275          McKESSON MEDICAL- SURGICAL MIN                Medical/Incont Supplies 12/29/20 - 12/31/20                     2,000.63
    01/07/21        6276          NAVITAS CREDIT CORP.                          POC Kiosks Software Chg 01/21                                     229.13
    01/07/21        6277          NUTRITION SYSTEMS CONSULTING,                 Dietary Consultation 12/10, 12/17, 12/21, & 12/31               1,760.00
    01/07/21        6278          OMNICARE, INC.                                SNF- Pharmacy- 12/20                                            5,841.78
    01/07/21        6279          SHRED- IT USA, LLC                            Shredding Svc 10/27, 11/24, & 12/8/20                             218.75
    01/07/21        6280          TIAA COMMERCIAL FINANCE, INC.                 Copier Lease- 12/29/20 - 1/28/21                                1,575.25
    01/07/21        6281          VERIZON WIRELESS                              Phones- 12/21/20 - 1/20/21                                        232.70
    01/07/21        6282          VERIZON WIRELESS                              Phones- 12/21/20 - 1/20/21                                        233.75
    01/07/21        6283          VERIZON WIRELESS                              Phones- 12/21/20 - 1/20/21                                        175.12
    01/07/21        6284          WILLIS TOWERS WATSON SOUTHEAST                Insurance Pmt- EPL 01/21                                        2,270.00
    01/07/21        6285          WILLIS TOWERS WATSON SOUTHEAST                Insurance Pmt- GL/PL 01/21                                     25,086.00
    01/07/21        6286          WILLIS TOWERS WATSON SOUTHEAST                Insurance Pmt- Commercial/Auto 01/21                            6,095.00
    01/08/21        WIRE          AL Revenue                                    SNF Bed Tax - 12/20                                            56,685.20
    01/08/21        6287          McKESSON MEDICAL- SURGICAL MIN                Medical/Incont Supplies 12/29/20 - 1/5/21                       5,923.69
    01/08/21        6288          MELISSA GRIFFIS - PETTY CASH                  Resident purchases - offset by AR charges                         314.85
    01/14/21        6289          A PLACE FOR MOM, INC.                         A Place for Mom YGL Software Lease 01/21                          139.00
    01/14/21        6290          ACTIVCARE LIVING - 102717 CHGBACK             FedEx 12/20                                                        29.84
    01/14/21        6290          ACTIVCARE LIVING - 102717 CHGBACK             ClearPeach Mktg 01/21                                              16.67
    01/14/21        6290          ACTIVCARE LIVING - 102717 CHGBACK             Equifax Qtrly UC Mgmt- 1st Qtr 2021                               526.76
    01/14/21        6290          ACTIVCARE LIVING - 102717 CHGBACK             401(k) Payment - PPE 12/31/20                                   3,442.95
    01/14/21        6291          AT&T                                          Line: 205 M60-0592 svc for 12/22/20 - 01/21/21                  1,621.66
    01/14/21        6292          COZZINI BROS, INC.                            Knife Sharpening Svc on 1/6/21                                     27.00
    01/14/21        6293          DISH                                          TV Service 1/6/21 - 2/5/21                                      5,516.05
    01/14/21        6294          FELDER SERVICES, LLC                          Housekeeping Svcs 1/1/21 - 1/15/21                             18,622.50
    01/14/21        6295          GORDON FOOD SERVICE, INC                      Raw Foods & Supplies 1/6/21 - 1/13/21                          12,226.19
    01/14/21        6296          HD SUPPLY FACILITIES MAINTENAN                Maintenance Supplies 11/24/20 - 11/25/20                          172.15
    01/14/21        6297          JANIE PEREZ                                   Unclaimed Property for Janie Perez                              1,662.08
    01/14/21        6298          LTC CONSULTING                                Accounts Receivable Billing SNF - 12/20                           406.19
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In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
DIP General Checking Account #1
January 31, 2021


                        TOTAL DISBURSEMENTS FROM DIP GENERAL CHECKING ACCOUNT #1 FOR CURRENT PERIOD
                                          See attached Exhibit A for Bank Account Reconciliation and Bank Statement


      Date          Check#                             Payee                                                  Purpose                             Amount


    01/14/21        6299          RELIABLE CLEANING                              COVID-19 Decontamination- Elev/Kitchen/1st & 3rd Fl, etc.           20,075.00
    01/14/21        6300          SENIOR RESOURCE GUIDE / SENIOR                 Advertising in Directory 1/15/21                                       533.33
    01/14/21        6301          SPIRE                                          Gas Utility- 12/2/20 - 12/31/20                                     12,913.82
    01/14/21        6302          WALNITA BELL                                   Contracted Labor - CDC Data Entry - W/E 12/31/20                       480.00
    01/14/21        6303          WELLS FARGO VENDOR FIN SERV                    Copier Lease- 12/27/20 - 1/26/21                                      1,203.96
    01/14/21        6304          McKESSON MEDICAL- SURGICAL MIN                 Medical/Incont Supplies 1/7/21 - 1/11/21                            12,495.78
    01/15/21        6305          ALABAMA MEDIA GROUP                            Prepay 02/21 Advertising Inserts                                      2,159.89
    01/15/21   DB011521 / WIRE    WELLS FARGO                                    Adequate Protection Payment                                       1,065,000.00
    01/19/21   DB011921 / WIRE    Catered Living                                 Payroll Funding                                                       2,400.00
    01/19/21        Wire          I Solved                                       Payroll, taxes, garnishments, fees                                 202,931.27
    01/21/21        6306          ACTIVCARE LIVING                               FedEx 12/20                                                             95.42
    01/21/21        6307          ALABAMA POWER COMPANY                          Electric Utility Bill- 12/14/20 - 01/13/21                          23,690.09
    01/21/21        6308          BAGBY ELEVATOR CO.                             Qtrly Preventive Maint 1/1/21 - 3/31/21                               6,778.49
    01/21/21        6309          COOK'S PEST CONTROL                            Pest & Rodent Control Svc - 01/21                                     1,025.00
    01/21/21        6310          ECOLAB FOOD SAFETY SPECIALTIES                 Dishwasher rental- 12/17/20 - 01/16/21                                 384.97
    01/21/21        6311          GORDON FOOD SERVICE, INC                       Raw Foods & Supplies 1/13/21 - 1/19/21                                6,138.43
    01/21/21        6312          MALIMAR TECHNOLOGY GROUP, INC.                 Computer for Melissa                                                  1,244.67
    01/21/21        6313          McKESSON MEDICAL- SURGICAL MIN                 Medical/Incont Supplies 1/15/21 - 1/19/21                             4,013.45
    01/21/21        6316          SNFQAPI, LLC                                   Qual. Assurance Software 01/21                                         385.00
    01/21/21        6317          SPECTRUM BUSINESS / CHARTER                    Internet Svc 01/01/21 - 01/31/21                                       286.06
    01/21/21        6318          SPECTRUM BUSINESS / CHARTER                    Internet Svc 01/11/21 - 02/10/21                                       106.98
    01/21/21        6319          TOTAL FIRE PROTECTION                          Fire Pump Runs 12/20                                                   375.00
    01/21/21        6320          WILLIS TOWERS WATSON SOUTHEAST                 Insurance Pmt- Patient Trust Bond 2021                                5,000.00
    01/21/21        Draw          Pay.Gov                                        Trustee 4th Qtr Fee                                                 34,301.08
    01/28/21        6321          ABILITY NETWORK INC.                           SNF Billing Subscription - 01/21                                       420.57
    01/28/21        6322          ACTIVCARE LIVING - 102717 CHGBACK              FedEx 01/21                                                             84.92
    01/28/21        6322          ACTIVCARE LIVING - 102717 CHGBACK              Malimar 12/20 Data Chargeback                                          464.00
    01/28/21        6323          AL DEPT OF ENVIRONMENTAL MANAG                 Storage Tank Fee - 2021                                                 30.00
    01/28/21        6324          AT&T                                           Line: 205 802-2286 svc for 01/14/21 - 02/13/21                        1,026.87
    01/28/21        6325          CANTATA HEALTH, LLC                            Net Solutions A/R: 01/21                                               416.46
    01/28/21        6326          COMMUNITY COFFEE COMPANY, LLC                  Coffee & Tea Delivery 1/13/21                                          278.30
    01/28/21        6327          CONVERGINT TECHNOLOGIES LLC                    Svc Call - Repair Nurse Call System                                    420.00
    01/28/21        6328          CUSTOM MEDICAL SOLUTIONS                       SNF- Equipment Rental- 12/20                                          7,045.42
    01/28/21        6329          FELDER SERVICES, LLC                           Housekeeping Svcs 1/16/21 - 1/31/21                                 18,622.50
    01/28/21        6330          GORDON FOOD SERVICE, INC                       Raw Foods & Supplies 1/22/21                                          4,841.08
    01/28/21        6331          HD SUPPLY FACILITIES MAINTENAN                 Maintenance Supplies 12/31/20 - 01/21/21                               537.41
    01/28/21        6332          JUST MEDICAL, INC.                             SNF- Equipment Rental- 12/20                                          2,034.66
    01/28/21        6333          McKESSON MEDICAL- SURGICAL MIN                 Medical/Incont Supplies 1/12/21 - 1/21/21                           10,077.51
    01/28/21        6334          MEDICO, INC.                                   SNF- Equipment Rental- 12/20                                           428.26
    01/28/21        6337          MOBILEX USA                                    SNF Xray & Ultrasound - 12/20                                          198.25
    01/28/21        6338          POINTCLICKCARE TECHNOLOGIES IN                 PointClickCare A/R: 01/21                                             3,401.90
    01/28/21        6339          RESTORE THERAPY SERVICES LTD.                  SNF- Therapy- 12/20                                                 19,877.06
    01/28/21        6340          SHANKAR YALAMANCHILI, MD                       Mental Health Director 01/21                                          4,000.00
    01/28/21        6341          SHARE CORPORATION                              Water Treatment 01/21                                                  457.87
    01/28/21        6342          SOUTHERN ORTHOPAEDIC SPECIALIS                 Medical Director 01/21                                                2,500.00
    01/28/21        6343          TOTAL FIRE PROTECTION                          Provide 37 Gallons Diesel Fuel for Fire Pump                           285.00
    01/28/21        6344          TOUGER CONSULTING INC.                         Medical Director 01/21                                                4,000.00
    01/28/21        6345          WALNITA BELL                                   Contracted Labor - CDC Data Entry - 1/6/21 - 1/14/21                   232.00
    01/28/21        6345          WALNITA BELL                                   Contracted Labor - CDC Data Entry - 1/18/21 - 1/21/21                  400.00


                                                                                                                                              $   2,035,739.66
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                                                  I. CASH RECEIPTS AND DISBURSEMENTS (continued)
                                                           B. GENERAL CHECKING ACCOUNT #2




                                                                    (1)
1. TOTAL RECEIPTS PER ALL PRIOR GENERAL CHECKING ACCOUNT #2 REPORTS                                             $         2,889.42

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL CHECKING ACCOUNT #2 REPORTS                                  $         2,889.42

3. BEGINNING BALANCE                                                                                            $              -

4. RECEIPTS DURING CURRENT PERIOD:
      RECEIPTS                                                                              $             -

                                                                                  TOTAL RECEIPTS THIS PERIOD:   $              -

5. BALANCE:                                                                                                     $              -

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
      DISBURSEMENTS                                                                         $             -
      TRANSFERS TO DIP RESERVE ACCOUNT #6                                                   $             -

                                                                           TOTAL DISBURSEMENTS THIS PERIOD:     $              -

7. ENDING BALANCE:                                                                                              $              -


8. GENERAL CHECKING ACCOUNT #2 ***8425 (ACCOUNT CLOSED IN JANUARY 2020)
   REGIONS BANK
   101 OFFICE PARK DRIVE
   BIRMINGHAM, AL 35223




(1)
      Includes the opening account balance on January 4, 2020.
        Case 20-00018-LT11       Filed 02/23/21   Entered 02/23/21 13:09:54      Doc 466       Pg. 6 of
                                                    51                                         Page 5 of 25
                             I. CASH RECEIPTS AND DISBURSEMENTS (continued)
                                  C. DIP PAYROLL CHECKING ACCOUNT #3




1. TOTAL RECEIPTS PER ALL PRIOR DIP PAYROLL CHECKING ACCOUNT #3 REPORTS                    $       896,053.73

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR DIP PAYROLL CHECKING ACCOUNT #3 REPORTS         $       896,094.88

3. BEGINNING BALANCE                                                                       $            (41.15)

4. RECEIPTS DURING CURRENT PERIOD:
      RECEIPTS                                                       $               -
      TRANSFERS FROM DIP GENERAL CHECKING ACCOUNT #1                 $         58,821.83

                                                            TOTAL RECEIPTS THIS PERIOD:    $        58,821.83

5. BALANCE:                                                                                $        58,780.68

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD:
      DISBURSEMENTS                                                  $         60,970.35
      TRANSFERS TO DIP GENERAL CHECKING ACCOUNT #1                   $               -

                                                      TOTAL DISBURSEMENTS THIS PERIOD:     $        60,970.35

7. ENDING BALANCE:                                                                         $         (2,189.67)


8. DIP PAYROLL CHECKING ACCOUNT #3 ***6710
   COMERICA BANK
   955 J STREET
   SAN DIEGO, CA 92101
             Case 20-00018-LT11             Filed 02/23/21         Entered 02/23/21 13:09:54                  Doc 466   Pg. 7 of
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In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
DIP Payroll Checking Account #3
January 31, 2021


                     TOTAL DISBURSEMENTS FROM DIP PAYROLL CHECKING ACCOUNT #3 FOR CURRENT PERIOD
                                  See attached Exhibit B for Bank Account Reconciliation and Bank Statement


      Date         Check#                        Payee                                          Purpose                     Amount



    01/07/21       200661   BESTER, JASMINE                                  Payroll checks ppe 12/31/20                $       792.84
    01/07/21       200662   Void                                             Employee lost - replaced with Imprest                 -
    01/07/21       200663   COLEMAN, ALEXUS                                  Payroll checks ppe 12/31/20                        674.91
    01/07/21       200664   GREENWOOD, LOVETT                                Payroll checks ppe 12/31/20                        768.78
    01/07/21       200665   JONES, ZANDRA                                    Payroll checks ppe 12/31/20                         89.35
    01/07/21       200666   JONES, ZANDRA                                    Payroll checks ppe 12/31/20                      2,188.86
    01/07/21       200667   MURRAY, SHAKAYLA                                 Payroll checks ppe 12/31/20                        942.39
    01/07/21       200668   ROY, DANNY                                       Payroll checks ppe 12/31/20                        744.74
    01/07/21       200669   SHEARS, STANLEY                                  Payroll checks ppe 12/31/20                        559.46
    01/07/21       200670   SIMMONS, PAULINE                                 Payroll checks ppe 12/31/20                      1,286.41
    01/07/21       200671   SMITH-SHEEHY, INDYIA                             Payroll checks ppe 12/31/20                        708.14
    01/07/21       200672   SPANKS, VALNESHA                                 Payroll checks ppe 12/31/20                        327.15
    01/13/21        Draw    Isolved                                          Benefits                                        37,440.41
    01/21/21       200673   Taylor, Kimberley                                Payroll checks ppe 01/15/21                        215.05
    01/21/21       200674   Musa, Lilian                                     Payroll checks ppe 01/15/21                        230.88
    01/21/21       200675   Dahlberg, Grace                                  Payroll checks ppe 01/15/21                        289.13
    01/21/21       200676   Davis, Gladys                                    Payroll checks ppe 01/15/21                        223.38
    01/21/21       200677   Dunn, Kerry                                      Payroll checks ppe 01/15/21                        223.38
    01/21/21       200678   Kamau, Lucy                                      Payroll checks ppe 01/15/21                        227.95
    01/21/21       200679   Mabry, Melissa                                   Payroll checks ppe 01/15/21                         89.35
    01/21/21       200680   Shelton, Laura                                   Payroll checks ppe 01/15/21                        230.87
    01/21/21       200681   Smith, Arabia                                    Payroll checks ppe 01/15/21                         92.35
    01/21/21       200682   Wallace, Tina                                    Payroll checks ppe 01/15/21                        222.34
    01/21/21       200683   Watkins, Shundria                                Payroll checks ppe 01/15/21                        679.09
    01/21/21       200684   White, Josette                                   Payroll checks ppe 01/15/21                         92.35
    01/21/21       200685   Arrington, Antoinette                            Payroll checks ppe 01/15/21                        561.54
    01/21/21       200686   Bailey, Wyamon                                   Payroll checks ppe 01/15/21                        307.28
    01/21/21       200687   Bester, Jasmine                                  Payroll checks ppe 01/15/21                        703.20
    01/21/21       200688   Brazzill, Latoshia                               Payroll checks ppe 01/15/21                         92.35
    01/21/21       200689   Brazzill, Latoshia                               Payroll checks ppe 01/15/21                        120.05
    01/21/21       200690   Coleman, Alexus                                  Payroll checks ppe 01/15/21                         14.55
    01/21/21       200691   Gaston, Kiara                                    Payroll checks ppe 01/15/21                        286.34
    01/21/21       200692   Greenwood, Lovett                                Payroll checks ppe 01/15/21                        751.77
    01/21/21       200693   Harris, Markeitheia                              Payroll checks ppe 01/15/21                        435.16
    01/21/21       200694   Johnson, Brittany                                Payroll checks ppe 01/15/21                        484.07
    01/21/21       200695   Jones, Zandra                                    Payroll checks ppe 01/15/21                        869.43
    01/21/21       200696   Knight, Sarah                                    Payroll checks ppe 01/15/21                        473.02
    01/21/21       200697   Lewis, Nakia                                     Payroll checks ppe 01/15/21                        322.55
    01/21/21       200698   Mckinley, Annie                                  Payroll checks ppe 01/15/21                        421.58
    01/21/21       200699   Murray, Shakayla                                 Payroll checks ppe 01/15/21                        805.94
    01/21/21       200700   Norman, Shantia                                  Payroll checks ppe 01/15/21                        430.72
    01/21/21       200701   Powell, Larita                                   Payroll checks ppe 01/15/21                        345.01
    01/21/21       200702   Shears, Stanley                                  Payroll checks ppe 01/15/21                        207.40
    01/21/21       200703   Smith-Sheehy, Indyia                             Payroll checks ppe 01/15/21                        745.60
    01/21/21       200704   Sodjinou, Clarisse                               Payroll checks ppe 01/15/21                        759.03
    01/21/21       200705   Wellman, Danetra                                 Payroll checks ppe 01/15/21                        138.52
    01/21/21       200706   Wellman, Danetra                                 Payroll checks ppe 01/15/21                        501.25
    01/21/21       200707   Wells, Minkah                                    Payroll checks ppe 01/15/21                        127.44
    01/31/21       200708   Shelton, Laura                                   Manual Payroll Check ppe 1/31                    1,726.99

                                                                                                                        $    60,970.35
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                                             I. CASH RECEIPTS AND DISBURSEMENTS (continued)
                                                       D. PAYROLL CHECKING ACCOUNT #4




                                                                                         (2)
1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL CHECKING ACCOUNT #4 REPORTS                                        $         2,605.46

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL CHECKING ACCOUNT #4 REPORTS                             $         2,605.46

3. BEGINNING BALANCE                                                                                       $              -

4. RECEIPTS DURING CURRENT PERIOD:
      RECEIPTS                                                                $                    -

                                                                           TOTAL RECEIPTS THIS PERIOD:     $              -

5. BALANCE:                                                                                                $              -

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD:
      DISBURSEMENTS                                                           $                    -
      TRANSFERS TO DIP RESERVE ACCOUNT #6                                     $                    -

                                                                     TOTAL DISBURSEMENTS THIS PERIOD:      $              -

7. ENDING BALANCE:                                                                                         $              -


8. PAYROLL CHECKING ACCOUNT #4 ***4335 (ACCOUNT CLOSED JANUARY 17, 2020)
   REGIONS BANK
   101 OFFICE PARK DRIVE
   BIRMINGHAM, AL 35223




(2)
      Includes the opening account balance on January 4, 2020.
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                                             I. CASH RECEIPTS AND DISBURSEMENTS (continued)
                                                          E. PATIENT TRUST ACCOUNT #5




                                                                                        (3)
1. TOTAL RECEIPTS PER ALL PRIOR PATIENT TRUST ACCOUNT #5 REPORTS                                             $       958,667.20

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PATIENT TRUST ACCOUNT #5 REPORTS                                  $       774,127.47

3. BEGINNING BALANCE                                                                                         $       184,539.73

4. RECEIPTS DURING CURRENT PERIOD:
      RECEIPTS - Resident Deposits                                             $                38,434.62
      RECEIPTS - Resident Interest                                             $                    28.24
      RECEIPTS - MRT reimbursement fees                                        $                      -
      TRANSFERS FROM DIP GENERAL CHECKING ACCOUNT #1                           $                      -
      TRANSFERS FROM DIP IMPREST ACCOUNT #7                                    $                    40.38

                                                                             TOTAL RECEIPTS THIS PERIOD:     $        38,503.24

5. BALANCE:                                                                                                  $       223,042.97

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD:
      DISBURSEMENTS                                                            $                13,030.60
      TRANSFERS TO DIP GENERAL CHECKING ACCOUNT #1                             $                42,888.64

                                                                      TOTAL DISBURSEMENTS THIS PERIOD:       $        55,919.24

7. ENDING BALANCE:                                                                                           $       167,123.73


8. PATIENT TRUST ACCOUNT #5 ***1595
   WELLS FARGO
   P.O. BOX 63020
   SAN FRANCISCO, CA 94163




(3)
      Includes the opening account balance on January 4, 2020.
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In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
Patient Trust Account #5
January 31, 2021


                            TOTAL DISBURSEMENTS FROM PATIENT TRUST ACCOUNT #5 FOR CURRENT PERIOD
                                   See attached Exhibit C for Bank Account Reconciliation and Bank Statement


      Date         Check#                    Payee                                              Purpose                         Amount



    01/11/21       Draw      Wells Fargo                            Service Charges                                         $        40.38
    01/14/21       3890      Cottage Hill Funeral Home              J Luker Burial                                                1,195.00
    01/14/20       3891      Social Security Refund                 J Luker Refund                                                   60.00
    01/14/20       3893      CMFC Life Ins                          M Cash Premiums                                                  65.30
    01/14/20       3894      Express Scripts Medicare               L Dates                                                           5.40
    01/14/20       3895      Void                                                                                                      -
    01/14/21       3896      Mobilex USA                            L Demmings                                                       17.94
    01/18/21       3897      Void                                                                                                      -
    01/18/21       3898      Sanford Dental Plan                    December Premiums                                             4,485.00
    01/19/21       3900      US Treasury                            Stimulus Refund - Y Adkins                                      600.00
    01/19/21       3901      Void                                                                                                      -
    01/25/21       3904      Social Security Refund                 C Bartee Refund                                               1,383.00
    01/25/21       3908      US Treasury                            Stimulus Refund - A Evans                                       600.00
    01/25/21       3909      Social Security Refund                 J Jones Refund                                                   30.00
    01/25/21       3910      Void                                                                                                      -
    01/25/21       3912      US Treasury                            Stimulus Refund - T Jones                                       600.00
    01/25/21       3913      US Treasury                            Stimulus Refund - J Luker                                       600.00
    01/25/21       3914      US Treasury                            Stimulus Refund - C Smith                                       600.00
    01/25/21       3915      Social Security Refund                 C Smith Refund                                                   30.32
    01/25/21       3916      Social Security Refund                 D Wynn Refund                                                   471.11
    01/26/21       3917      Lovett's Funeral Chapel                C Bell Burial                                                 1,500.15
    01/28/21       3919      Social Security Refund                 M Moore Refund                                                   30.00
    01/28/21       3921      Resident Essentials                    Kathy Anglin - spend down                                       408.00
    01/29/21       3922      Resident Essentials                    Ned Simmons - spend down                                        309.00

                                                                                                                            $    13,030.60
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                                                  I. CASH RECEIPTS AND DISBURSEMENTS (continued)
                                                                 F. DIP RESERVE ACCOUNT #6




                                                               (4)
1. TOTAL RECEIPTS PER ALL PRIOR DIP RESERVE ACCOUNT #6 REPORTS                                                       $     9,221,181.15

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR DIP RESERVE ACCOUNT #6 REPORTS                                            $     9,218,675.80

3. BEGINNING BALANCE                                                                                                 $         2,505.35

4. RECEIPTS DURING CURRENT PERIOD:
      RECEIPTS                                                                                 $        536,422.21
      RECEIPTS - OTHER: SBA PPP LOAN                                                           $               -
      TRANSFERS FROM PAYROLL CHECKING ACCOUNT #4                                               $               -
      TRANSFERS FROM PATIENT TRUST ACCOUNT #5                                                  $               -

                                                                                      TOTAL RECEIPTS THIS PERIOD:    $      536,422.21

5. BALANCE:                                                                                                          $      538,927.56

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD:
      DISBURSEMENTS                                                                            $               -
      TRANSFERS TO DIP GENERAL CHECKING ACCOUNT #1                                             $        536,927.56

                                                                               TOTAL DISBURSEMENTS THIS PERIOD:      $      536,927.56

7. ENDING BALANCE:                                                                                                   $         2,000.00


8. DIP RESERVE ACCOUNT #6 ***3953
   COMERICA BANK
   955 J STREET
   SAN DIEGO, CA 92101




(4)
      Includes the opening account balance on January 4, 2020.
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                               I. CASH RECEIPTS AND DISBURSEMENTS (continued)
                                          G. DIP IMPREST ACCOUNT #7




1. TOTAL RECEIPTS PER ALL PRIOR DIP IMPREST ACCOUNT #7 REPORTS                                $       24,268.88

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR DIP IMPREST ACCOUNT #7 REPORTS                     $       23,306.25

3. BEGINNING BALANCE                                                                          $         962.63

4. RECEIPTS DURING CURRENT PERIOD:
      RECEIPTS                                                          $               -
      TRANSFERS FROM DIP GENERAL CHECKING ACCOUNT #1                    $          4,037.37

                                                               TOTAL RECEIPTS THIS PERIOD:    $        4,037.37

5. BALANCE:                                                                                   $        5,000.00

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD:
      DISBURSEMENTS                                                     $           664.79
      TRANSFERS TO PETTY CASH ADMIN #9                                  $              -
      TRANSFERS TO PETTY CASH ACTIVITIES #8                             $              -
      TRANSFERS TO GENERAL ACCOUNT #1                                   $              -
      TRANSFERS TO PATIENT TRUST ACCOUNT #5                             $            40.38

                                                        TOTAL DISBURSEMENTS THIS PERIOD:      $         705.17

7. ENDING BALANCE:                                                                            $        4,294.83


8. DIP IMPREST ACCOUNT #7 ***6694
   COMERICA BANK
   955 J STREET
   SAN DIEGO, CA 92101
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DIP Imprest Account #7
January 31, 2021


               TOTAL DISBURSEMENTS FROM DIP IMPREST ACCOUNT #7 FOR CURRENT PERIOD
                           See attached Exhibit E for Bank Account Reconciliation and Bank Statement


      Date         Check#                         Payee                             Purpose                    Amount


    01/21/21        1041      Latoshia Brazzill                       EE Payroll Check Replacement         $      664.79

                                                                                                          $       664.79
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                                                  I. CASH RECEIPTS AND DISBURSEMENTS (continued)
                                                    H. PETTY CASH - ACTIVITIES CASH ACCOUNT #8




                                                                           (5)
1. TOTAL RECEIPTS PER ALL PRIOR PETTY CASH - ACTIVITIES ACCOUNT #8 REPORTS                                      $       21,858.21

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PETTY CASH - ACTIVITIES ACCOUNT #8 REPORTS                           $       20,741.73

3. BEGINNING BALANCE                                                                                            $        1,116.48

4. RECEIPTS DURING CURRENT PERIOD:
      RECEIPTS                                                                            $               -
      TRANSFERS FROM DIP GENERAL CHECKING ACCOUNT #1                                      $          1,537.22
      TRANSFERS FROM DIP IMPREST ACCOUNT #7                                               $               -

                                                                                 TOTAL RECEIPTS THIS PERIOD:    $        1,537.22

5. BALANCE:                                                                                                     $        2,653.70

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD:
      DISBURSEMENTS                                                                       $          1,976.30

                                                                           TOTAL DISBURSEMENTS THIS PERIOD:     $        1,976.30

7. ENDING BALANCE:                                                                                              $         677.40




(5)
      Includes the opening account balance on January 4, 2020.
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In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
Petty Cash - Activities Account #8
January 31, 2021


        TOTAL DISBURSEMENTS FROM PETTY CASH - ACTIVITIES ACCOUNT #8 FOR CURRENT PERIOD

      Date                        Payee                                   Purpose


    01/04/21   Publix                                 RES- Supplies and Art                            $      28.33
    01/04/21   Publix                                 RES- Supplies and Art                                   20.78
    01/04/21   Publix                                 RES- Supplies and Art                                   18.44
    01/04/21   Publix                                 RES- Supplies and Art                                   32.85
    01/04/21   Publix                                 RES- Supplies and Art                                   49.51
    01/06/21   Leesa Lewis                            Resident purchases - offset by AR charges              157.14
    01/08/21   Walmart                                RES-Supplies & Bingo Prizes                             40.19
    01/11/21   Target                                 RES-Supplies & Bingo Prizes                             41.10
    01/13/21   Publix                                 RES- Supplies                                           19.00
    01/13/21   Hobby Lobby                            RES- Supplies                                           17.59
    01/13/21   Family Dollar                          RES- Supplies                                           39.42
    01/13/21   Walmart                                RES- Supplies                                          132.94
    01/13/21   Walmart                                RES- Supplies                                           23.67
    01/14/21   Dollar Tree                            RES-Supplies & Bingo Prizes                              6.60
    01/14/21   Dollar Tree                            COVID- Testing Supplies                                 28.60
    01/15/21   Dunkin                                 RES-Supplies & Bingo Prizes                             36.35
    01/20/21   Restaurant Depot                       RES-Supplies & Bingo Prizes                             45.23
    01/20/21   Publix                                 RES-Supplies & Bingo Prizes                             19.90
    01/20/21   Publix                                 RES-Supplies & Bingo Prizes                             62.04
    01/20/21   Family Games                           RES-Supplies & Bingo Prizes                             17.94
    01/20/21   Restaurant Depot                       Plastic Silverware                                      37.62
    01/20/21   Family Dollar                          COVID- Testing Supplies                                  8.21
    01/22/21   Leesa Lewis                            Resident purchases - offset by AR charges              128.45
    01/22/21   Bill Dunn                              Resident purchases - offset by AR charges              525.32
    01/26/21   Walmart                                RES- Supplies                                           58.71
    01/26/21   Publix                                 RES- Supplies                                           51.44
    01/26/21   Papa John's                            RES- Supplies                                           23.07
    01/27/21   Publix                                 SNF- Ice Cream                                          57.76
    01/28/21   Restaurant Depot                       Bags for Kitchen                                        21.33
    01/28/21   Publix                                 Special Events - Birthday & Art                         51.44
    01/28/21   eBay                                   Special Events - Birthday & Art                         36.98
    01/28/21   Online Bargains                        Special Events - Birthday & Art                         32.00
    01/28/21   Paypal                                 RES- Supplies, Art & Bingo                              31.98
    01/28/21   Paypal                                 RES- Supplies, Art & Bingo                              14.98
    01/28/21   Paypal                                 RES- Supplies, Art & Bingo                              27.98
    01/28/21   eBay                                   RES- Supplies, Art & Bingo                              14.43
    01/28/21   Paypal                                 RES- Supplies, Art & Bingo                              16.98

                                                                                                       $    1,976.30
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                                                    I. CASH RECEIPTS AND DISBURSEMENTS (continued)
                                                  I. PETTY CASH - ADMINISTRATOR CASH ACCOUNT #9




                                                                              (6)
1. TOTAL RECEIPTS PER ALL PRIOR PETTY CASH - ADMINISTRATOR ACCOUNT #9 REPORTS                                       $      28,533.39

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PETTY CASH - ADMINISTRATOR ACCOUNT #9 REPORTS                            $      26,787.10

3. BEGINNING BALANCE                                                                                                $       1,746.29

4. RECEIPTS DURING CURRENT PERIOD:
      RECEIPTS                                                                             $                  -
      TRANSFERS FROM DIP GENERAL CHECKING ACCOUNT #1                                       $             2,078.22
      TRANSFERS FROM IMPREST ACCOUNT #7                                                    $                  -

                                                                                     TOTAL RECEIPTS THIS PERIOD:    $       2,078.22

5. BALANCE:                                                                                                         $       3,824.51

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD:
      DISBURSEMENTS                                                                        $             3,198.52

                                                                              TOTAL DISBURSEMENTS THIS PERIOD:      $       3,198.52

7. ENDING BALANCE:                                                                                                  $        625.99




(6)
      Includes the opening account balance on January 4, 2020.
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Petty Cash - Administrator Account #9
January 31, 2021


                           TOTAL DISBURSEMENTS FROM PETTY CASH - ADMINISTRATOR
                                           ACCOUNT #9 FOR CURRENT PERIOD


      Date                   Payee                                          Purpose                          Amount


    01/01/21   Donald Harris                     Patient Trust                                           $       10.00
    01/01/21   Publix                            Birthday Cake - Amelia Putt                                     27.49
    01/01/21   Dollar Tree                       SNF Rooms                                                       22.00
    01/04/21   Alonzo Scott                      Patient Trust                                                  100.00
    01/04/21   Brandon Jeffries                  Patient Trust                                                  150.00
    01/04/21   Paramount                         Linens                                                         237.83
    01/05/21   Jimmy Collette                    Patient Trust                                                   30.00
    01/05/21   Walmart                           SNF Rooms                                                        4.30
    01/05/21   Dollar Tree                       SNF Rooms                                                       19.07
    01/06/21   Vernell Bennett                   Patient Trust                                                   10.00
    01/06/21   Mary Sanders                      Patient Trust                                                   30.00
    01/06/21   Sam's Club                        Paper Supplies                                                  17.20
    01/07/21   Donald Harris                     Patient Trust                                                   20.00
    01/09/21   Walmart                           Dietary Paper Supplies                                          29.04
    01/11/21   Polly Malone-Six                  Patient Trust                                                   30.00
    01/11/21   Joe Jones                         Patient Trust                                                   82.00
    01/13/21   Gloria Little                     Patient Trust                                                   30.00
    01/13/21   Donald Harris                     Patient Trust                                                  200.00
    01/14/21   Marc White                        Patient Trust                                                  104.00
    01/15/21   Terry Thornton                    Patient Trust                                                  100.00
    01/15/21   Bobby Horn                        CPR Training for Employees                                      75.00
    01/18/21   Bill Dunn                         Resident purchases - offset by AR charges                      155.98
    01/18/21   Bill Dunn                         Resident purchases - offset by AR charges                       68.50
    01/18/21   Amazon                            Printer for SNF                                                107.98
    01/18/21   Melissa Griffis                   Resident purchases - offset by AR charges                       93.24
    01/18/21   Tish Bell                         Home Depot - Zipwall                                           172.70
    01/18/21   Tish Bell                         AL Board of Nursing Renewal                                    103.50
    01/21/21   Brandon Jeffries                  Patient Trust                                                   86.00
    01/21/21   Office Depot                      Office Supplies                                                 37.39
    01/26/21   Brandon Jeffries                  Patient Trust                                                    4.00
    01/27/21   Michael Howard                    Patient Trust                                                   20.00
    01/27/21   Marc White                        Patient Trust                                                  104.00
    01/28/21   Big Lots                          SNF Activities                                                 153.22
    01/28/21   Amazon                            SNF Activities                                                 161.97
    01/28/21   Paramount                         Linens                                                         140.72
    01/29/21   Leesa Lewis                       Resident purchases - offset by AR charges                      425.48
    01/29/21   Bill Dunn                         Resident purchases - offset by AR charges                       35.91

                                                                                                         $    3,198.52
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                              I. CASH RECEIPTS AND DISBURSEMENTS (continued)
                              J. PROPERTY TAX MONEY MARKET - ACCOUNT #10




1. TOTAL RECEIPTS PER ALL PRIOR PROPERTY TAX MONEY MARKET ACCOUNT #10 REPORTS                  $   396,065.19

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PROPERTY TAX MONEY MARKET #10 REPORTS               $          -

3. BEGINNING BALANCE                                                                           $   396,065.19

4. RECEIPTS DURING CURRENT PERIOD:
      RECEIPTS                                                       $                   -
      TRANSFERS FROM DIP GENERAL CHECKING ACCOUNT #1                 $             16,500.00
      INTEREST INCOME                                                $                 17.45

                                                               TOTAL RECEIPTS THIS PERIOD:     $    16,517.45

5. BALANCE:                                                                                    $   412,582.64

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD:
       DISBURSEMENTS                                                 $                   -

                                                         TOTAL DISBURSEMENTS THIS PERIOD:      $          -

7. ENDING BALANCE:                                                                             $   412,582.64
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In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
Property Tax Money Market Account #10
January 31, 2021


                   TOTAL DISBURSEMENTS FROM PROPERTY TAX MONEY MARKET ACCOUNT #10
                       See attached Exhibit F for Bank Account Reconciliation and Bank Statement


      Date                   Payee                                       Purpose                           Amount


                                                                                                       $         -

                                                                                                       $         -
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               I. CASH RECEIPTS AND DISBURSEMENTS (continued)
                       K. SUMMARY SCHEDULE OF CASH

ENDING BALANCE FOR PERIOD:


  A.   DIP GENERAL CHECKING ACCOUNT #1                                $   1,153,809.29
  B.   GENERAL CHECKING ACCOUNT #2                                    $              -
  C.   DIP PAYROLL CHECKING ACCOUNT #3                                $        (2,189.67)
  D.   PAYROLL CHECKING ACCOUNT #4                                    $              -
  E.   PATIENT TRUST ACCOUNT #5                                       $       167,123.73
  F.   DIP RESERVE ACCOUNT #6                                         $         2,000.00
  G.   DIP IMPREST ACCOUNT #7                                         $         4,294.83
  H.   PETTY CASH - ACTIVITIES ACCOUNT #8                             $          677.40
  I.   PETTY CASH - ADMINISTRATOR ACCOUNT #9                          $          625.99
  J.   PROPERTY TAX MONEY MARKET ACCOUNT #10                          $       412,582.64


TOTAL CASH AVAILABLE                                                  $   1,738,924.21
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                                II. STATUS OF PAYMENTS TO SECURED CREDITORS, LESSORS,
                                    AND OTHER PARTIES TO EXECUTORY CONTRACTS



                                                                            REGULAR
                                                                            MONTHLY                  POST PETITION
                                                                            PAYMENT               PAYMENTS NOT MADE
    CREDITOR, LESSOR, ETC.        DESCRIPTION / FREQUENCY OF PAYMENTS       AMOUNT               NUMBER       TOTAL DUE
ECOLAB                               MONTHLY RENT - KITCHEN EQUIP           $      385.66          N/A         $            391.91
FP MAILING                                POSTAGE EQUIPMENT                 $         -            N/A         $               -
GORDON FOOD                                     WEEKLY                      $   28,000.00         1 week       $          8,840.19
MARLIN LEASING                     MONTHLY LEASE OF DISH SMARTBOX           $         -            N/A         $               -
NAVITAS CREDIT CORP                           POC KIOSKS                    $         -            N/A         $               -
TIAA LEASING                            COPIER LEASE - MONTHLY              $    1,575.25            1         $          1,673.38
WELLS FARGO FINANCING                   COPIER LEASE - MONTHLY              $         -            N/A         $               -
HAND ARENDALL HARRISON SALE ALJ PRESIDING OVER CON LICENSURE PROCEEDINGS    $    3,666.00          N/A         $          4,615.00
WELLS FARGO BANK                    ADEQUATE PROTECTION PAYMENT             $   65,000.00          N/A         $               -
MARVIN POER                           PROPERTY TAX REDUCTION FEE            $   35,000.00          N/A         $               -
CNA Deductible Recovery            DEDUCTIBLE FOR LEGAL SETTLEMENT          $   15,000.00          N/A         $               -



                                                 III. TAX LIABILITIES



FOR THE REPORTING PERIOD:                                                                                           01/31/2021

    GROSS SALES SUBJECT TO SALES TAX                                                                           $               -
    TOTAL GROSS WAGES PAID + EMPLOYEE BONUSES                                                                  $        426,204.55


                                                                              TOTAL
                                                                               POST-               POST-              DATE
                                                                             PETITION            PETITION          DELINQUENT
                                                                             AMOUNTS             AMOUNT             AMOUNT
                                                                              OWING             DELINQUENT             DUE
                             FEDERAL WITHHOLDING                            $   12,684.26   $              -
                             EMPLOYEE STATE WITHHOLDING                     $    8,003.69   $              -
                             FICA - EMPLOYER'S SHARE                        $   16,468.72   $              -
                             FICA - EMPLOYEE'S SHARE                        $   16,468.72   $              -
                             FEDERAL UNEMPLOYMENT                           $      797.00   $              -
                             STATE UNEMPLOYMENT                             $    2,087.63   $              -
                             NON-EMPLOYEE STATE BACKUP WITHHOLDING          $        -      $              -
                             SALES AND USE                                  $        -      $              -
                             REAL PROPERTY                                  $ 569,940.00    $              -
                             PERSONAL PROPERTY TAX                          $   1,995.38    $              -
                             OTHER: (SPECIFY) SNF BED TAX                   $ 56,685.20     $              -
                                                   TOTAL:                   $ 685,130.60    $              -
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                                                                                 51                                                      Page 21 of 25
                                  IV. AGING OF ACCOUNTS PAYABLE AND ACCOUNTS RECEIVABLE
                                                                  VENDOR AGINGS

                                              ACCOUNTS PAYABLE                           ACCOUNTS RECEIVABLE
                                             (POST-PETITION ONLY)                      Pre-Petition   Post-Petition
30 days or less                              $                   168,470.65      $                     -      $         607,156.55
31 - 60 days                                 $                    10,616.78      $                    -       $         102,047.41
61 - 90 days                                 $                    23,077.48      $                    -       $           3,120.89
91 - 120 days                                $                   106,783.04      $                    -       $           1,293.62
Over 120 Days                                $                   146,672.68      $               5,226.27     $          15,862.26
TOTALS:                                      $                   455,620.63      $               5,226.27     $         729,480.73



                                                              V. INSURANCE COVERAGE

                                                                                                                    POLICY                 PREMIUM
    TYPE OF COVERAGE /                                                                AMOUNT OF                   EXPIRATION                 PAID
          PROPERTY                               NAME OF CARRIER                      COVERAGE                       DATE                  THROUGH
Patient Trust Medicaid Bond                       SureTec Ins / Willis            $          250,000                02/09/22                02/09/22
Water Utility Pymt Bond                              Travelers                    $                10,000            05/05/21                 05/05/21
Emp Practices Liability                        Federal Insurance Co               $             1,000,000            07/16/21                 04/30/21
General/Professional Liability                 Columbia Casualty Co               $             3,000,000            09/01/21                 04/30/21
Commercial Property/Auto                      Cincinnati Insurance Co.            $             3,000,000            10/10/21                 03/31/21
Workers Comp                                   Alabama Self Insured                                                  12/31/21                 01/31/21
                                               Workers Comp Fund



                                             VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                                (TOTAL PAYMENTS)



                                                                                                               Date Paid per the         Amount Paid
                                                                         (7)
        Quarterly Period Ending                  Total Disbursements                  Quarterly Fees                Debtor               per the Debtor
                  03/31/20                   $               2,466,012.83        $            24,660.13            04/17/20              $     24,660.13
                  06/30/20                   $               3,311,473.87        $            33,114.74            07/17/20              $     33,114.74
                  09/30/20                   $               3,441,948.91        $              34,419.49            10/20/20            $     34,419.49
                            (8)
                 12/31/20                    $                 2,102,549.62      $              21,025.50            01/20/21             $     34,313.44


(7)
      Pursuant to agreement with OUST, disbursements from Patient Trust Account (account #5) will be excluded from OUST Quarterly Fee
calculations as the Patient Trust Account contains funds held in trust on behalf of its patients, rather than the funds of the Debtor.
(8)
      Payment to OUST is comprised of a credit balance of $12.36 and wire transfer issued of $34,301.08.
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                  VII. SCHEDULE OF COMPENSATION PAID TO INSIDERS


                           DATE OF ORDER            AUTHORIZED            FREQUENCY OF
                            AUTHORIZING               GROSS                   GROSS
 NAME OF INSIDER           COMPENSATION            COMPENSATION           COMPENSATION
B. RENEE BARNARD              01/29/20           $          6,250.00      SEMI MONTHLY
CHARLES BARNARD                01/29/20          $           1,500.00      SEMI MONTHLY
  BARBARA LAIL                 01/29/20          $           2,917.00      SEMI MONTHLY




              VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                           DATE OF ORDER                                   AMOUNT PAID
                           AUTHORIZING                                       DURING
NAME OF INSIDER              PAYMENT                 DESCRIPTION             MONTH
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                                                            IX. PROFIT AND LOSS STATEMENT
                                                                   (ACCRUAL BASIS ONLY)

                                                                                                        Current Month                        Cumulative

         Sales/Revenue:
           Skilled Nursing Revenues
                 Skilled Nursing Facility Revenue - Primary Services                                $               673,344             $         10,403,960
                 Skilled Nursing Facility Revenue - Ancillary Services                                                11,339                        419,787
                 Skilled Nursing Facility Revenue - Misc Contracts                                                    18,275                        360,895
                Less: COVID Medicaid Add On Pay Back                                                                 (45,140)                       (588,460)
                Add back 2020 Cost Report MCD                                                                         37,610                         37,610
                Less: Contractual Adjustments/Discounts                                                                   -                           (4,532)
                       Net Skilled Nursing Revenues                                                                 695,428                       10,629,261

           Retirement Care Revenues
                 Retirement Care Revenues - Primary Services                                                          40,584                        582,851
                 Retirement Care Revenues - Ancillary Services                                                        (1,709)                         (1,733)
                Less: Contractual Adjustments/Discounts                                                               (2,655)                        (17,205)
                       Net Retirement Care Revenues                                                                   36,220                        563,912

           Other Operating Revenues                                                                                     -                                -
                  Net Sales/Revenue                                                                                 731,648                       11,193,173

         Operating Expenses:
           SNF Nursing                                                                                              279,476                        3,606,710
           SNF Bed Tax                                                                                               56,685                          702,283
           SNF Ancillary                                                                                             67,842                          965,380
           Repairs and Maintenance                                                                                   61,767                          633,343
           Housekeeping                                                                                              37,245                          481,782
           Dietary                                                                                                   86,434                        1,192,835
           Activities/Resident Services                                                                              32,439                          394,898
           Marketing                                                                                                  9,225                          158,372
           Administrative                                                                                           153,758                        2,068,176
           Property Taxes                                                                                            18,495                          158,976
           Insurance                                                                                                 33,915                          381,317
           Bad Debt Write Off                                                                                         3,000                           38,806
           Utilities                                                                                                 81,033                          962,859
            Total Operating Expenses                                                                                921,314                       11,745,738

         Net Income/(Loss) from Operations                                                                          (189,666)                       (552,565)

         Non-Operating Income:
          Other Income                                                                                                    -                                -
           Total Non-Operating Income                                                                                     -                                -

         Non-Operating Expenses:
          Interest Expense (see footnote (12) on balance sheet for more information)                                     -                               -
          Legal and Professional                                                                                      35,897                       2,005,081
          US Trustee Quarterly Fees                                                                                   21,025                         147,521
           Management Fees (9)                                                                                            -                                -
           Depreciation and Amortization Expenses (10)                                                                   -                         1,249,577
           Total Non-Operating Expenses                                                                               56,922                       3,402,179

         Net Income/Loss (Including Non Operating Items) Before Taxes                                               (246,588)                     (3,954,743)

           Corporate Taxes                                                                                                (30)                            (230)

         Net Income/Loss (Including Non Operating Items)                                            $               (246,618)           $         (3,954,973)

  (9)
        Pursuant to a prepetition agreement, ActivCare Living Inc. assists the Debtor with limited portions of its operations, namely
         bookkeeping, accounting and marketing. The Debtor includes this management fee in its budgets; however, ActiveCare Living Inc.
         is not seeking payment for such management fees during the Debtor's bankruptcy case.
  (10)
         The Debtor historically posts depreciation and amortization annually.
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                                                                     X. BALANCE SHEET
                                                                  (ACCRUAL BASIS ONLY)


                                                                                                                                Current Month

              ASSETS

              Current Assets:
               Unrestricted Cash                                                                                            $               1,159,217
               Restricted Cash - Patient Trust & Property Tax                                                                                 579,707
               Accounts Receivable - postpetition                                                                                             729,481
               Accounts Receivable - prepetition                                                                                                5,226
                Less: Allowance for Doubtful Accounts                                                                                         (17,949)
               Inventory                                                                                                                       10,499
               Notes Receivable                                                                                                                 5,600
               Prepaid Expenses                                                                                                               142,008
               Other (Itemize)                                                                                                                      -
                Total Current Assets                                                                                                        2,613,789

              Property & Equipment                                                                                                          34,724,999
              Accumulated Depreciation                                                                                                     (22,622,165)
                Net Property, Plant & Equipment                                                                                             12,102,834

              Other Assets (Net of Amortization):
               Special Basis Entries                                                                                                        6,437,651
               Other Assets (Itemize) Costs Related to Sale                                                                                    22,902
               Other Assets (Itemize) CON Beds                                                                                                456,156
                Total Other Assets                                                                                                          6,916,709

              TOTAL ASSETS                                                                                                  $              21,633,332


              LIABILITIES
              Postpetition Liabilities:
               Accounts Payable                                                                                             $                 455,621
               Accrued Payables                                                                                                               205,610
                Accrued Payroll                                                                                                               183,990
                Taxes Payable                                                                                                                 685,131
                Other - Accounts Receivable Prepayments                                                                                        33,226
                Other - Leases                                                                                                                  3,247
                Other - Patient Trust                                                                                                         167,124
                Other - Medicaid/CARES Provider Funding                                                                                     1,298,231
                Other - PPP Loan Proceeds (rec'd 7/2/2020)                                                                                  1,138,105
                Other - DIP Financing Borrowing (11)                                                                                        2,000,000
                 Total Postpetition Liabilities                                                                                             6,170,285

              Prepetition Liabilities:
                Secured Liabilities (12)                                                                                                   14,091,029
                Priority Liabilities                                                                                                                 -
               Unsecured Liabilities                                                                                                       19,651,850
                Total Prepetition Liabilities                                                                                              33,742,879
              TOTAL LIABILITIES                                                                                                            39,913,164

              EQUITY:
               Prepetition Owners' Equity/(Deficit)                                                                                        (14,324,858)
               Postpetition Profit/(Loss)                                                                                                   (3,954,973)
               Direct Charges to Equity                                                                                                              -
              TOTAL EQUITY                                                                                                                 (18,279,831)

              TOTAL LIABILITIES & EQUITY                                                                                    $              21,633,332

       (11)
              The DIP Financing Borrowing was authorized by the Court in its ORDER ON MOTION FOR AUTHORITY TO OBTAIN
              POSTPETITION UNSECURED FINANCING entered on February 4, 2020 (ECF 100).
       (12)
              The Debtor contends that Wells Fargo’s claim is not fully secured by the value of its collateral, and therefore, pursuant
              to Bankruptcy Code section 506(a) and (b), Wells Fargo is not entitled to receive postpetition interest or attorneys’ fees
              on its claim, subject to a final determination of value of Wells Fargo’s collateral, which the Debtor contends will be
              determined by the sale of Wells Fargo’s collateral at the close of the sale of the Mount Royal Towers facility and related
              business assets pursuant to the Debtor’s section 363 sale process now underway. Accordingly, the Debtor further
              contends that the court-ordered adequate protection payments being made to Wells Fargo as a condition to the use of its
              cash collateral should properly be characterized as interim principal reduction payments, and not as interest,
              again, subject to a final determination of value of Wells Fargo’s collateral.
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               In re: Vestavia Hills, Ltd. dba Mount Royals Towers
                         U.S.B.C. Case No.: 20‐00018‐LA11
          Narrative Statement – January 2021 Monthly Operating Report

Vestavia Hills, Ltd. dba Mount Royals Towers (“Debtor”) filed a voluntary petition for relief
under chapter 11 of the United States Bankruptcy Code (Case No. 20‐00018‐LA18, on file with the
United States Bankruptcy Court in the Southern District of California) on January 3, 2020.

The Debtor is an Alabama limited partnership with its principal place of business, as well as its
general partner, in San Diego. The Debtor is the owner of real property in Vestavia Hills,
Alabama and operates a senior housing community commonly known as Mount Royal Towers.
The Debtor has been operating since 1982.

The Debtor wishes to disclose the following information in connection with the bankruptcy
estate’s monthly operating report:

      On March 25, 2020, the Court granted the Debtor’s motion to approve sale procedures for
       the sale of the Debtor’s Mount Royal Towers facility and related business assets,
       approving a “stalking horse” purchase agreement with MED Healthcare, Inc. (“MED”)
       and establishing procedures for overbid, and setting certain deadlines and dates for
       receipt of qualifying overbids and setting a final sale hearing date (ECF 185). While the
       sale process was underway, in recognition of the challenges posed by the COVID‐19
       pandemic, the Debtor filed a motion to extend certain deadlines and dates associated with
       the sale process, which the Court granted by order entered May 21, 2020 (ECF 264),
       moving the deadline to submit qualifying overbids to July 9, 2020 and setting the final sale
       hearing on July 30, 2020. Notwithstanding objections to the sale having been filed by
       Commonwealth Assisted Living LLC (“Commonwealth”) (ECF 329, 336, and 342), the
       Court approved the Debtor’s Sale Motion at the July 30 hearing, adopting her previously
       issued Tentative Decision and making various findings on the record at the hearing
       approving the sale to the Stalking Horse Bidder, MED, for $12,000,000. An order
       approving the Sale Motion was entered on August 31, 2020, which has now become final
       with no appeal having been filed. The Debtor is working with MED to close the sale in a
       timely manner. Also, on May 5, 2020, the Court set a Claims Bar Date of July 6, 2020 (ECF
       237).

      On July 22, 2020, the Court granted the Debtor’s motion to further extend the exclusive
       period for the Debtor to file a Chapter 11 plan to November 2, 2020 and to extend the
       period for the Debtor to solicit acceptances to its plan to December 28, 2020. (ECF 351).
       On October 30, 2020, the Debtor filed a further request to extend the exclusivity periods
       to file a plan and disclosure statement, and to solicit acceptances on its plan. (ECF 399).
       Debtor’s motion was unopposed and on December 11, 2020, this Court issued its order
       extending the exclusivity filing period to February 5, 2021, and the exclusive solicitation
       period to March 26, 2021 (ECF 428). The motion was granted without prejudice to the
       right see seek further extensions. See ECF 428. The Debtor filed its fourth motion for
       extension of the exclusive periods on January 18, 2021 (ECF 432), which motion was



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              In re: Vestavia Hills, Ltd. dba Mount Royals Towers
                        U.S.B.C. Case No.: 20‐00018‐LA11
         Narrative Statement – January 2021 Monthly Operating Report

       granted by order entered on January 29, 2021 extending the time to file a Chapter 11 plan
       to July 3, 2021 and extending the time to solicit acceptances to its plan to September, 2021.
       ECF 453.

      The Debtor filed its Fourth Chapter 11 Status Report on January 21, 2020 (ECF 443). Parties
       should review the Debtor’s Fourth Status Report for more details as to case status and
       events.

      Prior to the November 12, 2020 Chapter 11 status hearing, the Debtor filed its Application
       for an Order to Show Cause re Contempt (ECF 405) directed at Commonwealth Assisted
       Living and its affiliate, MCAP, and their principals and attorneys, asking the Court to hold
       each of them in contempt for violating the Court’s sale approval order and for exercising
       control over the Debtor’s assets that are among the assets being sold to MED Healthcare
       and further for interfering in the regulatory approval process pending in Alabama for
       those assets. On November 12, 2020, the Court set a hearing on November 23, 2020 on the
       Debtor’s OSC Application. The Debtor, its Limited Partners, and Commonwealth and
       MCAP, by and through their attorneys of record, reached an agreement to resolve the
       issues relating to the Debtor’s OSC Application, and filed a Stipulation with the Court on
       November 18, 2020 (ECF 418), which the Court approved by Order entered on November
       18, 2020 (ECF 419). Accordingly, the hearing set on the matter was taken off calendar.
       The Debtor later received confirmation that MCAP withdrew its competing regulatory
       approval application in Alabama. Since the withdrawal of the MCAP application, the
       Debtor and MED have made progress in the regulatory approval process that had been
       stalled previously as a result of MCAP’s competing application for licensing for the MRT
       Facility in Alabama.

      On April 17, 2020, the Debtor filed a motion pursuant to section 505 of the Bankruptcy
       Code for a determination of the value of the property in Alabama, and supplemental
       pleadings. ECF 213. The motion was based upon the fact that the Jefferson County Board
       of Tax Assessors (“Tax Assessor”) improperly assessed the taxable value of Parcel No.
       28‐00‐17‐4‐002‐003.000 and shown on the Tax Assessor’s records with the Site Address of
       126 Royal Tower Drive and commonly known by the address of 300 Royal Tower Drive
       (the “Real Property”). No party in interest opposed the motion after receipt of the
       Debtor’s motion and notice of hearing, and on May 29, 2020, this Court entered its order
       granting the Debtor’s motion. See ECF 276. Since that time, the Debtor, its principals, and
       its counsel attempted to interact with the Jefferson County Board of Equalization and its
       tax assessor and tax collector to effectuate the order (ECF 276). Until recently, the Jefferson
       County Board of Equalization, its tax assessor, and tax collector refused to acknowledge
       this Court’s order, and on December 23, 2020 following a hearing before the Board of
       Equalization, the County Board of Equalization reaffirmed its valuation of the Real
       Property at $21,8010,000, continuing to ignore this Court’s order. The Debtor filed an
       appeal of the Board’s decision to the Circuit Court in Jefferson County on January 22, 2021,


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                        U.S.B.C. Case No.: 20‐00018‐LA11
         Narrative Statement – January 2021 Monthly Operating Report

       which the Board has opposed in the Alabama court. The Debtor and the Board, through
       counsel, engaged in settlement negotiations in the hope of reaching an amicable resolution
       of the ad valorum tax issues regarding the Debtor’s property located in Jefferson County.
       These settlement discussions have borne fruit in achieving a resolution of the disputed tax
       assessments. The Debtor and the County, through their respective counsel, are in the
       process of documenting the terms of the settlement which resolves all issues with respect
       to underlying property assessment valuations for the 2019 and 2020 tax years. The
       proposed settlement agreement will be brought before the Bankruptcy Court for approval
       pursuant to a Rule 9019 motion.

      The Debtor had hoped to be able to file its plan of reorganization in this Chapter 11 case
       before the lapse of the current exclusive period ending on February 5, 2021, unless further
       extended by the Court. Unfortunately, events have continued to conspire against the
       Debtor being able to so, including the need for management to redouble its efforts to
       maintain safety among its elderly specialty care residents at Mount Royal Towers.
       Specifically, for the first time since the COVID pandemic began last spring 2020, the
       Debtor and its management and staff at the MRT facility dealt with the first incidents of
       COVID virus among MRT’s residents. Testing at the MRT facility revealed that as many
       as 30 residents tested positive for the virus (with residents and staff being tested at least
       twice weekly) in January 2021. Those testing positive were isolated from the general
       population at MRT, either in independent living residences or in skilled nursing in
       COVID‐designated private isolation rooms. As of the date of this report, the last positive
       test among residents was January 27, 2021, and thereafter MRT has remained free of new
       COVID cases. The residents and staff continue to be tested for the coronavirus weekly as
       the latest Jefferson County’s positivity testing rate is reported to be 9.2%. Thankfully, the
       MRT facility has adequate private rooms into which the residents who tested positive for
       the coronavirus were able to be moved in areas isolated from the general resident
       population while they were treated and cared for. Vaccinations are now available and
       have been administered to residents and staff on a voluntary basis. When confirmed virus
       symptom‐free, and vaccinated, (voluntarily) and after appropriate quarantining, all MRT
       residents have been able to return to the general population areas of MRT.

      The Debtor, its management and staff, and professionals have worked diligently keeping
       the sale process on track while at the same time maintaining the safety and security of the
       Mount Royal Towers facility and of the elderly residents there. This sale of the Mount
       Royal Towers assets will form the basis of the Debtorʹs plan in the case.




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In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
DIP General Checking Account #1
January 31, 2021

                                   DIP GENERAL CHECKING ACCOUNT #1
                                   BANK RECONCILIATION - EXHIBIT A



BALANCE PER BANK STATEMENT DATED:                      01/31/21                               $   1,245,349.13

PLUS DEPOSITS IN TRANSIT:

                         DEPOSIT                      DEPOSIT
                          DATE                        AMOUNT




       TOTAL DEPOSITS IN TRANSIT                                                              $             -

LESS OUTSTANDING CHECKS:

                          CHECK                                             CHECK
                         NUMBER                  CHECK DATE                AMOUNT
                            6278                       01/07/21        $     5,841.78
                            6297                       01/14/21        $     1,662.08
                            6318                       01/21/21        $       106.98
                            6321                       01/28/21        $       420.57
                            6323                       01/28/21        $        30.00
                            6324                       01/28/21        $     1,026.87
                            6325                       01/28/21        $       416.46
                            6326                       01/28/21        $       278.30
                            6327                       01/28/21        $       420.00
                            6328                       01/28/21        $     7,045.42
                            6329                       01/28/21        $    18,622.50
                            6330                       01/28/21        $     4,841.08
                            6331                       01/28/21        $       537.41
                            6332                       01/28/21        $     2,034.66
                            6333                       01/28/21        $    10,077.51
                            6334                       01/28/21        $       428.26
                            6335                       01/28/21        $     1,400.33
                            6336                       01/28/21        $       997.55
                            6337                       01/28/21        $       198.25
                            6338                       01/28/21        $     3,401.90
                            6339                       01/28/21        $    19,877.06
                            6340                       01/28/21        $     4,000.00
                            6341                       01/28/21        $       457.87
                            6342                       01/28/21        $     2,500.00
                            6343                       01/28/21        $       285.00
                                                                                        Exhibit A, Page 1
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In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
DIP General Checking Account #1
January 31, 2021

                                   DIP GENERAL CHECKING ACCOUNT #1
                                   BANK RECONCILIATION - EXHIBIT A


                            6344                       01/28/21        $   4,000.00
                            6345                       01/28/21        $     632.00

     TOTAL OUTSTANDING CHECKS                                                               $      91,539.84

BANK STATEMENT ADJUSTMENTS                                                                  $             -

ADJUSTED BANK BALANCE                                                                       $   1,153,809.29




                                                                                      Exhibit A, Page 2
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         IK3K9B9CKY
 ,3CN3GQY YYKDY,3CN3HY YY




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                                                                                                                     19:9G9C69YCNB59GIY
 *3K9Y                     %BDNCKY       %6K>O>KQY                                                                   )NIKDB9GY       '3C?Y
   FYhy,/y             y4%&%%%%%y     Tam]yy%./447yKm_yHYm]hyIyJ[]eebyA]\yy%,,74%y                                             9184%%/978y
vy FYhy,/                  8/4%%%y     Rhbo]\`]Yeo`[Ym]yD[[eYbfjfoy6.,6886.4y                                                     918866,7..y
   FYhy,1y                    78%%%y    Rhbo]\`]Yeo`[Ym]yD[[eYbfjfoy6.,6886.4y                                                     9188946,.1y
   FYhy,4y                    /.4%%y    Rhbo]\`]Yeo`[Ym]yD[[eYbfjfoy6.,6886.4y                                                     9188161187y
   FYhy.%y                 1.%%%%y     Rhao]\`]YyEo`y[Yym]yD[[eYbfjfoy6.,6886.4y                                                  9188.%8446y
   FYhy.4y               +1,y<62,/4y    SNyD`nyNobfqeqnyD`njYtf]hoy6.,6886.4y                                                      91881.449-y
 2EL4;Y+A96KGDC>6Y*9FDI>KIY Y
 2DK3AY.NB59GYD:Y+A96KGDC>6Y*9FDI>KIYY


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                                     19:9G9C69YCNB59GIY                                                              19:9G9C69YCNB59GIY
 *3K9Y             %BDNCKY        )NIKDB9GY     '3C@Y                 *3K9Y            %BDNCKY                 )NIKDB9GY     '3C@Y
 FYhy%7y             4 146%%y                         %91%//.,/.y       FYhy.%y              /4%'%$y                              %91%/7.,18y
 FYhy,,y            /1,777%y                         %91%68%167y       FYhy..y           /7474/6y                                %91%/,%7,,y
 FYhy,,y             /696%%y                         %91%6478.7y       FYhy.8y           ,67,1.6y                                %91%.97/44y
 FYhy,1y           4%%=(%%%%yuy                      %91%/,.978y       FYhy.9y           ,9781/.y                                %91%1,61/.y
 FYhy,4y            7777%:.9y                        y%91%//77y19y     FYhy.9y           ,1/,694y                                %91%1%%.,6y
 FYhy,9y               530w;9%y                        %91%6/4.97y      FYhy.9y                                                     %91%1%%..%y
                                                                                                      
 FYhy,9y               S <M# Y                      %91%6/4.94y      FYhy.9y                                                   %91%1%%.%1y
 FYhy.%y             /11,/81y                         %91%/7.,4%y      FYhy.9y                6/.%%y                             %91%1%%.,8y
 2DK3AY03F9GY*9FDI>KI!Y Y
 2DK3AY.NB59GYD:Y03F9GY*9FDI>KIYY

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                                                                                                                             (3C?Y
                                                                                                                             G9:9G9C69Y
  *3K9Y                    &BDNCKY        %6K>P>KQY                                                                          CNB59GY
   FYhy%1y                  4%4/4y       OjYyAqh\nyOmYhn^]myAmify?[[iqhoy     W/94/y                                        LO7,7//4/%y
   FYhy%7y                781./9y       OjYyAqh\nyOmYhn^]myAmify@[[iqhoy     X/94/y                                             
   FYhy,.y              1918/. 91y       OjYyAqh\nyOmYhn^]myAmify@[[iqhoy     Ur/94/y                                           
!y FYhy,/y                  ,,89)y       OjYyBqh\nPmYhn^]myCmigy@[[iqhpy xy   Vr/94/y                                       MQ7,79.*,4y
   FYhy,1y                , 97,",7y       OjYyAqh\nyOmYhn^]myAmify@[[iqhoy     Vr/94/y                                       LO7,8%%,/8y
   FYhy.%y               /, 646#8,y       OjYyAqh\nyOmYhn^]myAmify@[[iqhoy     Vs/94/y                                           
 2DK3AY2G3CI:9GG97Y:GDBY/K=9GY%66DNCKI!-TU$V WXY
 2DK3AY.NB59GYD:Y2G3CI:9GIY:GDBY/K=9GY%66DNCKI"YJ R Y

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  yNtfZieybh\b[Yo]nyYyZm]Ycybhy[`][dyhqfZ]myn]kq]h[]
  yNtfZieybh\b[Yo]nyYhyimb_bhYeybo]fyhioy]h[ein]\
  >yNtfZieybh\b[Yo]nyYyZm]Ycybhy[`][dyhqfZ]myn]lq]h[]yYh\yYhyimb_bhYeybo]fyhioy]h[ein]\

                                                      '3C?Y                                                                          (3C?Y
  )=96?Y                  %BDNCKY        *3K9Y        19:9G9C69Y          )=96@Y                   %BDNCKY               *3K9Y       19:9G9C69Y
  .NB59GY                                03>8Y        .NB59GY             .NB59GY                                        03>8Y       .NB59GY
  6,9,y                   91.#/%       FYhy,,y      %97%1/.8..y        6./4y                  ./%7%69              FYhy%1y    %97%1%86%%y
  >6,94y                 ./9114,y      FYhy,,y      %97%1/886%y        6./6y                   6 9887,              GYhy%4y    %97%7.,4,/y
  >6.%/y                ,%991#,%       FYhy%4y      %97%/96,7.y        6./7y                  ,86..4%              FYhy%6y    %97%414%19y
  >6.,%y                     4#1%       FYhy,.y      %97%/.4.98y        >6./9y                   .,6884              FYhy%4y    %97%7.6.99y
  >6./1y                   4%.64y      FYhy,,y      %97%1441,/y        6.1%y                        4#44             FYhy%6y    %97%/17194y
                                                                                                                                        
                                                                                                                                   Exhibit A, Page 4
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        >?+?/7/8?C
&+8@+<BCCC?:C&+8@+<BC CC




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qQpdWgbq_fY`XUlZkqUqWjZUaq`fqX^ZXaqfndWZjqkZinZfXZ
qQpeWgbq_fY_XUlZkqVfqgj_]_fUbq_lZdqfglqZfXbgkZY
=qQpdWgbq_fY`XUlZkqUqWjZUaq`fqX^ZXaqfndWZjqkZinZfXZqUfYqVfqgj`]_fVbq_lZdqfglqZfXcgkZY
                                                "+84C                                                                "+84C
#1/-4C                    !7:@8?C       $+?/C   )/0/</8-/C            #1/-4C              !7:@8?C        $+?/C       )/0/</8-/C
'@7,/<C                                 (+2.C    '@7,/<C              '@7,/=C                            (+2.C       '@7,/<C
4*0'q                 *.*:*!.    IUfq!0q    !:6!'0:9*0q           4*9*q                *..63q     IUfq'0q     !:6!!.3!6'q
4*0*q                     .!9*4   IUfq''q    !:6!!9.3*!q           4*9.q                '63'*      IUfq'0q     !:6!!.3!6*q
4*0.q                     '04*3   IVfq!6q    !:6!.*!.0*q           4*90q             **6!!!q      IUfq''q     !:6!!:6'9*q
4*00q                 *"!3*.9    IVfq!4q    !:6!.34'.!q           4*93q             *3!95!!       IUfq''q     !;7!#:8'64q
4*03q                    0!!!!!q  IUfq''q    !:6!00*::3q           4*94q               4!:3!!q     IUfq''q     !:6!!:6'6:q
4*04q                     03696   IUfq!9q    !:6!!3!*!0q           4*96q              3:*.4:q     IUfq'*q     !:6!!406.!q
4*06q                  *3!!!!    IVfq!6q    !:6!.'9300q           4*99q                 .'093q    IUfq*'q     !:6!!49'93q
4*09q                       '.::9q IVfq!6q    !:6!3.!:*4q           4*9:q                 '.:!!q    IUfq':q     !:6!3!9.3.q
4*0:q                   0!!!!!q  IUfq!9q    !:6!*00+6.q           4*:!q              0!'4**q     IUfq':q     !:0!4.3*90q
4*3!q                     '94'.   IUfq''q    !:6!0330'*q           4*:'q              '4*'44q     IUfq(:q     !:6''':.:'q
4*3'q                    '*00':   IUfq''q    !:6!0330''q           4*:*q                   *6!!q   IUfq*!q     !:6!436.4!q
4*3*q                       04:6  IUfq''q    !:6!'34949q            =4*:0q           '94**3!q      IUfq*3q     !:6!0.'300q
4*3.q                     '*33*   IUfq*'q    !:6!!.:!64q            =4*:4q                '6*'3q    IUfq':q     !:6!3:.4*.q
 =4*3:q                    *43!9q  IUfq''q    !:0!43':64q            =4*:9q                0!4':     IUfq':q     !:6'''*9*0q
4*4!q                     1*3!!   IUfq''q    !:0!43':3'q           4*::q            *!!63!!q      IUfq*'q     !:6!*4:6:*q
4*4'q                         63!! IUfq''q    !:0!43':3!q           4.!!q                 3....q    IUfq**q     !:6!*4:.64q
4*4*q                    6*660!   IUfq'*q    !:6!!'9.64q           4.!'q            '*:'.9*q      IUfq**q     !:6!*:06!:q
4*4.q                   0:4999   IUfq'.q    !:6!3'4.*:q           4.!*q                 09!!!     IVfq*3q     !:6!0*:3*0q
4*40q                   '.:!!3q  IUfq''q     !:6!'4!':4q          4.!.q              '*!.:4      IVfq':q     !:6!0::''6q
4*43q                   '!***6   IUfq'*q     !:6!.*30:3q          4.!0q            '*0:369q      IUfq':q     !:6!'09.!9q
4*44q                   .90!99q  IUfq*:q     !:6!.936*0q          4.!3q              *q'3:9:     IUfq*3q     !:6!:!6:0.q
4*46q                 0*:49*9q   IUfq'*q     !:6!!663*3q          4.!4q                   :30*q   IUfq**q     !:0!..*0*4q
4*49q                        93.4 IUfq'*q     !:6!!663*0q          4.!6q            *.4:!!:q      IUfq*4q     !:6!!93*'*q
4*4:q                     **::!q  IUfq'*q     !:6!3:''!*q          4.!9q              4669 0:      IUfq*6q     !:6!*44.43q
4*6!q                     .:.!!q  IUfq'*q     !:6!*:!669q          4.!:q              '!*3!!q     IUfq*6q     !:6!*633::q
 =4*6*q                    049*!q  IUfq''q     !:6!'3.!:6q          4.'!q                 .90:6q    IUfq*4q     !:6!!**!'*q
4*6.q                     '*04.q  IVfq'.q     !:6!!43.63q           =4.'*q             '*0046      IUfq*4q     !:6!*:3!'.q
4*60q                     94'66   IVfq':q     !:6!!96*!:q          4.'.q              0!'.03q     IUfq*3q     !:6!'0,*!.q
4*63q                   *!!!4.q  JVfq'*q     !:6!!46:39q          4.'0q                 3.:46q    IVfq**q     !:6!*:0303q
4*64q                     **:'.   IUfq''q     !:6!'3*.!4q          4.'3q                  4669:q   IVfq**q     !:6!*:0304q
4*66q                   '64!!!q  IUfq'.q     !:6!*6'49!q          4.'4q                 .93!!     IUfq*3q     !:6!9:'!4:q
 =4*6:q                    *'963   IVfq'*q     !:6!*:3*:(q           =4.':q                 .63!!     IUfq*4q    !:6!..!'46q
4*9!q                   '363*3   IUfq'.q     !:6!*9.4*!q          4.*!q               3!!!!!q     IVfq*9q    !:6!!!9:*!q
4*9'q                      *.*6!q IVfq'0q     !:6!!.3!6!q           =4.**q                 309<*q    IUfq*:q    !:0$2!!-'0q
 *:?+5C-1/-4>C;+2.C?12>C>?+?/7/8?C;/<2:.C C
*:?+6C8@7,/<C:0C-1/-4>C;+2.C?13>C>?+?/7/8?C;/<2:. CC


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                                                                                                     )/0/</8-/C9@7,/<>C
 %+?/C              !7:@8?C           !-?2A2?BC                                                   #@>?:7/<C         "+84C
 IUfq!0q             0%960'      DgjYgfqCggYqQZjoq>PqOUpdZflq'!!!'!!'..:*0q                                        :099*'!*3.q
 IUfq!3q             C     T`jZq!!4!*:q?f[qbf\`f`kgnjXZq Gq CZYqq!!!6!'q                                    :093!!6:.9q
 IVfq!3q             *6!!!!      T`jZqq!!4!'4q?f[q@VlZjZYqL`o_f]qCZYqq!!!4:9q                                     :093!!6:.:q
 IUfq!6q                       T`jZqq!!4.:0q?f[qQnbb`oUfqE`bbq CZYqq!!!63!q                                     :093!!40!*q
 IUfq!6q                    T`jZq!!4.64q?f[qFUjWnXaqKZ`l^q CZYq!!!600q                                       :093!!40!.q
 IUfq!6q              .!4'4!q    T`jZq!!4.':q?f[q?UfaZjqR`bbpqSq CZYq!!!634q                                      :093!!40!0q
 IUfq!6q              '64!!!q    T`jZq!!4/6!q?f[qBb`kUWZm^q B`kfq CZYq!!!60.q                                     :093!!40!3q
 IVfq!6q                *(!!!     T`jZq!!4.03q?f[q@UdhWZbbqOUjlfqCZYq!!!6.:q                                       :093!!40!4q
 IVfq''q             34493*!q     >bYZhlqN[qPZoqA`jZXlq AWlq '044!:934!q                                           :099:'*94*q
 IUfq''q              :q'3:39    DgjYgfqCggYqQZjoq>PqOUpdZflq'!!!'!!'..:*0q                                        :099'.'*39q
 IUfq)3q          '&43!!!&!     T`jZq!!:*!3q?f[qT`jZkqHMq OjgXZqCZYq!!!96*q                                      :093!!9444q
 IUfq':q            *!*q:.'q*6   T`jZq!'94:.q?f[qbf[_f`kgnjXZqGq CZYqq!!*'66q                                     :093!!9'.*q
 IVfq':q              *0!!!!q    T`jZq!'96!3q ?f[q@UlZjZYqL`o_f]qCZYq!!*'9!q                                      :093!!9'..q
 IUfq':q                    DgjYgfqCggYqQZjoq>PqOVpdZflq'!!!'!!'..:*0q                                        :0994*4'.3q
                                                                                                                        
                                                                                                                    Exhibit A, Page 5
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                                                                                             (021=1:-1G:@8,1=>G
#+?0G                9<@:?G             -?5B5?EG                                         "@>?<91=G     !+;6G
=Ody!,y                ((!)(     6\n[yBqlR[On\dZy+%%%%'*'y                                                ,'++!$$(%,y
=Ody$!y              %'%!+      CqOloWlawy8WWyBOwbWdoy$!!$yy                                      y ,'++'(!y(y
=Ody$(y               )y!%+'%     ;flTfdy9ffUyEWmy1DyBOwbWdoy!!!%%,$'y                                 ,'++)*!)+)y
>Ody$(y                  $+))     4[OloWly4fcbqd\Ry5[OloWly4@y)(,'!!y EiOy                               ,'++,%!%,y
)<?+7G$70-?=<;5-G*5?4.=+D+7>G  G
)<?+7G&@9,1=G<3G$70-?=<:5-G*5?4.=+D+7>GG

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                                                                                                !+:6G
                                                                                                =120=1:-1G
#+?1G                     9<@:?G            -?5C5?FG                                       ;A9,0=G
=Ody'y                    xy")( y         FjOy:qeVnyGlOdnXWlyGfy1RRfqdoy    Iu%*-y      AG*!*%%*,(y
>Ody*y                      !(!%($           1rofbOo]RyGlOdnXWly Gfy 1RRfqdoyIu)*!yAy       <;7?!!')$y
=Ody+y                        *+!'           2rofbOo]RyGlOdnXWly Gfy 2RRfqdoyJ)*!y         <;7?!!')+y
>Ody!!y                             YqdUnyGlOdnXWlyGfy2RRfqdoy Iu)),'          AH*!**),))y
=Ody!!y                       !$%+((          .3spg`Po_S/0lOdnXWly Gfy 2RRfrdoyIu)*!yhy      <;7?!!($&
=Ody!$y                     !,($+            2rofbOo^RyGlOdnXWly Gfy 1RRfqdoyIu)*!yAy       #;7?!!%)+
=Ody!%y                    %*'''!y           2rofbOo\RyGlOdnXWly Gfy 2RRfqdoyL)*!y         #;7?!!'!
>Ody!'y                     $$*+$!            2rofbOo]RyGlOdnXWly Gfy 2RRfrdoyIv)*!yAy       <;7?!!))y
=Ody!(y                         +,%(           1rofbOo]RyGlOdnXWly Gfy 2RRfqdoyIu)*!yAy       <;7?!!','y
=Ody!,y                         $$%%+y          2rofbOo]RyGlOdnXWly Gfy 2RRfrdoyM*!y          # ;7?!!(+'y
>Ody$y                         !+'*           1qofbOo]RyGlOdnXWly Gfy 2RRfrdoyIu)*!y        <;7?!!(*y
>Ody$!y                      $*((+!           2rofbOo\RyGlOdnXWly Gfy 2RRfrdoyK)*!yAy         #;7?!!'*!y
>Ody$$y                                2qofbOo\RyGlOdnXWly Gfy 2RRfrdoyIu)*!yAy        <;7?!!(!-y
>Ody$(y                      !%$))%           1qofbOo\RyGlOdnXWly Gfy 2RRfqdoyL)*!yAy         <;7?!!'+-y
>Ody$)y                     ($!!%            2qofbOo]RyGlOdnXWly Gfy 2RRfqdoyIu)*!yAy        <;7?!!%)&y
>Ody$*y                      !!!(!y          1rofbOo_RyGlOdnXWly Gfy 2RRfqdoyL)*!yAy         <;7?!!%,(y
>Ody$,y                       !''+',y          2rofbOo]RyGlOdnXWly Gfy 2RRfqdoyIv)*!y         <;7?!!(+y

)<?+7G)=+;>21==1/G?<G'?40=G--<@:?>G  G
)<?+7G&@9,1=G<3G)=+;>20=>G?<G'?41=G--<@:?>GG

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        NfqlyaftWnoyTO]awyQOaOdRWyo[\nynoOoWbWdoykWl]fTytOny 
        fdy %+;@+=EG G




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                                                                                                         Exhibit A, Page 6
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In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
DIP Payroll Checking Account #3
January 31, 2021

                                 DIP PAYROLL CHECKING ACCOUNT #3
                                    BANK RECONCILIATION - EXHIBIT B



BALANCE PER BANK STATEMENT DATED:                      01/31/21                               $             -

PLUS DEPOSITS IN TRANSIT:

                         DEPOSIT                      DEPOSIT
                          DATE                        AMOUNT




       TOTAL DEPOSITS IN TRANSIT                                                              $             -

LESS OUTSTANDING CHECKS:

                          CHECK                                             CHECK
                         NUMBER                  CHECK DATE                AMOUNT
                           200642                      12/04/20        $        16.90
                           200653                      12/21/20        $        24.25
                           200670                      01/07/21        $     1,286.41
                           200682                      01/21/21        $       222.34
                           200705                      01/21/21        $       138.52
                           200706                      01/21/21        $       501.25

     TOTAL OUTSTANDING CHECKS                                                                 $    2,189.67

BANK STATEMENT ADJUSTMENTS                                                                    $   (2,189.67)

ADJUSTED BANK BALANCE                                                                         $   (2,189.67)




                                                                                        Exhibit B, Page 1
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                                                       51
In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
Patient Trust Account #5
January 31, 2021

                                      PATIENT TRUST ACCOUNT #5
                                   BANK RECONCILIATION - EXHIBIT C



BALANCE PER BANK STATEMENT DATED:                      01/31/21                               $ 189,187.48

PLUS DEPOSITS IN TRANSIT:

                         DEPOSIT                      DEPOSIT
                          DATE                        AMOUNT




       TOTAL DEPOSITS IN TRANSIT                                                              $             -

LESS OUTSTANDING CHECKS:

                          CHECK                                             CHECK
                         NUMBER                  CHECK DATE                AMOUNT
                            3724                       07/15/20        $     1,673.63
                            3732                       07/15/20        $     1,220.14
                            3769                       08/20/20        $       676.00
                            3771                       08/20/20        $       500.00
                            3774                       08/20/20        $        30.00
                            3776                       08/20/20        $     1,071.00
                            3778                       08/20/20        $        30.00
                            3780                       08/20/20        $       882.00
                            3811                       09/16/20        $     1,338.00
                            3815                       09/16/20        $        30.00
                            3821                       09/21/20        $        37.42
                            3828                       10/20/20        $        30.00
                            3829                       10/20/20        $        30.00
                            3882                       12/23/20        $     2,791.04
                            3891                       01/14/21        $        60.00
                            3896                       01/14/21        $        17.94
                            3898                       01/18/21        $     4,485.00
                            3900                       01/19/21        $       600.00
                            3904                       01/25/21        $     1,383.00
                            3908                       01/25/21        $       600.00
                            3909                       01/25/21        $        30.00
                            3912                       01/25/21        $       600.00
                            3913                       01/25/21        $       600.00
                            3914                       01/25/21        $       600.00
                            3915                       01/25/21        $        30.32
                                                                                        Exhibit C, Page 1
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                                                       51
In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
Patient Trust Account #5
January 31, 2021

                                      PATIENT TRUST ACCOUNT #5
                                   BANK RECONCILIATION - EXHIBIT C


                            3916                       01/25/21        $     471.11
                            3917                       01/26/21        $   1,500.15
                            3919                       01/28/21        $      30.00
                            3921                       01/28/21        $     408.00
                            3922                       01/29/21        $     309.00

     TOTAL OUTSTANDING CHECKS                                                               $   22,063.75

BANK STATEMENT ADJUSTMENTS                                                                  $             -

ADJUSTED BANK BALANCE                                                                       $ 167,123.73




                                                                                      Exhibit C, Page 2
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           Case 20-00018-LT11                Filed 02/23/21        Entered 02/23/21 13:09:54           Doc 466     Pg. 43 of
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                                                                                                                  Exhibit C, Page 4
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                                                       51
In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
DIP Reserve Account #6
January 31, 2021

                                        DIP RESERVE ACCOUNT #6
                                   BANK RECONCILIATION - EXHIBIT D



BALANCE PER BANK STATEMENT DATED:                       01/31/21                            $    2,000.00

PLUS DEPOSITS IN TRANSIT:

                          DEPOSIT                      DEPOSIT
                           DATE                        AMOUNT




       TOTAL DEPOSITS IN TRANSIT                                                            $           -

LESS OUTSTANDING CHECKS:

                           CHECK                                          CHECK
                          NUMBER                     CHECK DATE          AMOUNT




     TOTAL OUTSTANDING CHECKS                                                               $           -

BANK STATEMENT ADJUSTMENTS                                                                  $           -

ADJUSTED BANK BALANCE                                                                       $    2,000.00




                                                                                    Exhibit D, Page 1
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                                                                                                        Exhibit D, Page 3
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In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
DIP Imprest Account #7
January 31, 2021

                                        DIP IMPREST ACCOUNT #7
                                   BANK RECONCILIATION - EXHIBIT E



BALANCE PER BANK STATEMENT DATED:                       01/31/21                           $    4,294.83

PLUS DEPOSITS IN TRANSIT:

                          DEPOSIT                      DEPOSIT
                           DATE                        AMOUNT




       TOTAL DEPOSITS IN TRANSIT                                                           $            -

LESS OUTSTANDING CHECKS:

                           CHECK                                          CHECK
                          NUMBER                     CHECK DATE          AMOUNT




     TOTAL OUTSTANDING CHECKS                                                              $            -

BANK STATEMENT ADJUSTMENTS                                                                 $            -

ADJUSTED BANK BALANCE                                                                      $    4,294.83




                                                                                    Exhibit E, Page 1
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In re: Vestavia Hills, Ltd. DBA Mount Royal Towers
Property Tax Money Market Account #10
January 31, 2021

                             PROPERTY TAX MONEY MARKET ACCOUNT #10
                                   BANK RECONCILIATION - EXHIBIT F



BALANCE PER BANK STATEMENT DATED:                       01/31/21                           $ 412,582.64

PLUS DEPOSITS IN TRANSIT:

                          DEPOSIT                      DEPOSIT
                           DATE                        AMOUNT




       TOTAL DEPOSITS IN TRANSIT                                                           $            -

LESS OUTSTANDING CHECKS:

                           CHECK                                          CHECK
                          NUMBER                     CHECK DATE          AMOUNT




     TOTAL OUTSTANDING CHECKS                                                              $            -

BANK STATEMENT ADJUSTMENTS                                                                 $            -

ADJUSTED BANK BALANCE                                                                      $ 412,582.64




                                                                                    Exhibit F, Page 1
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